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                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                             SAVANNAH DIVISION
KENNETH RAMON SANDERS,                   )
                                         )
      Movant,                            )
                                         )
kv                                       )      Case No. CV409-197
                                         )                CR495-123
UNITED STATES OF AMERICA,                )
                                         )
      Respondent.                        )

                   REPORT AND RECOMMENDATION

      Kenneth Ramon Sanders has litigated a series of 28 U.S.C. § 2255

motions since his 1996 conviction. CR495-123, doc. 686; doc. 1005, as

amended, doe. 1007; doc. 1009 at 1 (noting earlier filings construed as §

2255 motions).' Addressing his latest motions, does. 1100 & 1113, the

Court noted two views of the record in this case. Doe. 1130, reported at

2011 WL 6076180. That divergence stemmed from the government's

belief that Sanders had forged documents to evade § 2255's statute of

limitations. 2011 WL 6076180 at * 2.

      The Court then reminded Sanders that litigants face prosecution

for advancing perjury and false documentation here, then directed him to


1 The Court is citing only to the criminal docket in this case.
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"file an affirmation, under oath or declaration, as to the authenticity of

all documents that he has filed. He must do so within 21 days of the date

this Order is served upon him or face recommended dismissal of his §

2255 motion on those grounds alone." 2011 WL 6076180 at * 2. The

government, meanwhile, reiterates its fraud contention. Doc. 1132.

           But Sanders had also moved "for Retroactive Application of

Sentencing Guidelines to Crack Cocaine Offense," doc. 1129, and the

Court granted it, then reduced his sentence from 324 to 262 months

under 18 U.S.C. § 3582 (c)(2). Doc. 1131. Pointing to that result and

reasoning that he won't do much better with his § 2255 motion, Sanders

now moves to dismiss it. Doc. 133. His motion should be GRANTED.2

          SO REPORTED AND RECOMMENDED this 4th day of

January, 2012.


                                                   UNrfED STATES MAGISTRATE JUDGE
                                                   SOUThERN DISTRICT OF GEORGIA




2
    Nothing, of course, prevents the government from investigating Sanders for any of his actions here.
